Local Form H1008A (08/22)
Information to identify the case:
Debtor 1              Phillip Scott Hasha                          United States Bankruptcy Court
                      Name
                                                                   District of Hawaii

Debtor 2                                                           Case number: 24−00412
                      Name
(Spouse, if filing)                                                Chapter: 7

ORDER TO SHOW CAUSE WHY CASE SHOULD NOT BE DISMISSED AND
ATTORNEY SANCTIONED
To: Debtor(s) and Debtor's Attorney:

Ofir Raviv
Square One Legal LLLC
American Savings Bank Tower
1001 Bishop St., Ste. 2850
Honolulu, HI 96813

This case commenced with a petition filed electronically in the court's CM/ECF system. Local Bankruptcy
Rule 5005−4(f)(2) provides that when a petition and accompanying schedules and statements are filed
electronically, the declarations or certifications required of a debtor in these documents must be made by
submitting a paper copy of a declaration substantially conforming to the local form Declaration re:
Electronic Filing with the original signature of each individual or joint debtor, or the signature of an
authorized individual on behalf of a debtor that is an artificial entity. As an alternative, a registered ECF
User may file online a scanned image of the declaration with the debtor's signature. This declaration must
be filed within 7 days after the date of electronic filing of the subject document. The rule further provides
that failure to comply with this requirement may result in dismissal of the case without further notice or
hearing.

Whereas no Declaration re: Electronic Filing has been timely filed in this case, the debtor(s) and the
above−named attorney are ordered to show cause why this case should not be dismissed. The debtor's
attorney also is ordered to show cause why sanctions in the amount of $100 to be refunded to the
debtor(s) should not be imposed for failure to comply with LBR 5005−4(f)(2).

This order will be deemed discharged if the required declaration is received by the clerk within 7 days from
the date of entry of this order. If not discharged, the attorney for the debtor(s) will be required to appear
personally before the court with no compensation or expenses chargeable to his or her client(s).

SO ORDERED.


Date: May 24, 2024                                   Robert J. Faris
                                                     United States Bankruptcy Judge
Clerk's Office:
1132 Bishop Street, Suite 250
Honolulu, Hawaii 96813
(808) 522−8100
www.hib.uscourts.gov




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